                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  WESTERN DIVISION

                                       NO. 5:21-CR-00057-M

UNITED STATES OF AMERICA,                      )
                                               )
        Plaintiff,                             )
                                               )
v.                                             )             ORDER
                                               )
JEFFREY BRUCE PATRICK,                         )
                                               )
        Defendant.                             )


       This matter is before the court on the Defendant's Motion to Seal [DE 32]. Pursuant to

Local Criminal Rule 55.2(a) and based on the information set forth in DE 31, the government's

motion is GRANTED. The Clerk of the Court is directed to maintain the documents at DE 31

under seal until further order of the court.


       SO ORDERED this
                                 :itday of October, 2021.
                                lq



                                               2L.,J LIUr.-,,vr "lI.-
                                               RICHARD E. MYERS II
                                               CHIEF UNITED STATES DISTRICT JUDGE




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